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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


    Doe 600 and Circle R Ranch,                        Case No. 22‐CV‐1786 (PJS/LIB)

                        Petitioners.                               ORDER




Jeffrey R. Anderson, Joshua Peck, and Michael G. Finnegan, Jeff Anderson & Associates,
P.A., for Petitioner Doe 600.

Peter M. Waldeck and Jason M. Stoffel, Waldeck. & Woodrow, P.A., for Petitioner Circle
R Ranch.


        This action comes before the Court on the joint petition of “Doe 600” and Circle R

Ranch for a writ of habeas corpus ad testificandum for federal prisoner Scott Francis

Fortier. See ECF No. 3 (“Petition”). For the following reasons, the Court denies the

Petition.1

        In January 2018, after a trial in this Court, a jury convicted Fortier of one count

each of producing child pornography (violating 18 U.S.C. § 2251(a)) and possessing

child pornography (violating 18 U.S.C. § 2252(a)(4)(B)). See Docket, United States v.




1In various filings in this Court, Doe 600 and Circle R Ranch refer to themselves as
“Plaintiff” and “Defendant[],” respectively. See, e.g., ECF No. 3 at 1; ECF No. 4 at 1. As
discussed more below, however, in this federal‐court action, these two parties are not a
plaintiff and a defendant—indeed, because both parties are asking for the same thing,
they are not even adverse. The Court therefore considers it more appropriate to refer to
Doe 600 and Circle R Ranch as “Petitioners.”
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Fortier, Case No. 17‐CR‐0096 (PJS/DTS) (D. Minn.).2 This Court sentenced him to 300

months imprisonment. See Sentencing J. at 2, United States v. Fortier, Case No. 17‐CR‐

0096 (PJS/DTS) (D. Minn. Nov. 7, 2018). According to the online inmate locator of the

Federal Bureau of Prisons (“FBOP”), Fortier is presently incarcerated at the Federal

Correctional Institution at Pekin, Illinois (FCI‐Pekin).

       In June 2020, Doe 600 sued Circle R Ranch in Minnesota state court. See Register

of Actions, Doe 600 v. Circle R Ranch, Case No. 02‐CV‐20‐2671 (Minn. Dist. Ct.) (“State‐

Court Docket”). The suit’s gravamen is that Circle R Ranch employed Fortier, that

Fortier met Doe 600 while she was also working there, and that Fortier later sexually

abused Doe 600. See, e.g., Compl. 2–7, Doe 600 v. Circle R Ranch, Case No. 02‐CV‐20‐2671

(Minn. Dist. Ct. June 22, 2020). As the Court understands the complaint, Fortier’s

conduct with Doe 600 (as well as “another minor camper”) underpins the child‐

pornography charges he faced in his federal prosecution. See id. at 4. The complaint

asserts various state‐law causes of action—several negligence counts as well as a count

based on respondeat superior. See id. at 7–12. The case is presently set for trial starting on

October 31, 2022. See State Court Docket.


2Documents cited in this Order from Fortier’s federal prosecution, and from the state‐
court case between Petitioners discussed below, are not attached to any submissions in
this matter. The cited materials are public court records, however, so this Court may
take judicial notice of them. See, e.g., United States v. Schneider, 905 F.3d 1088, 1092 n.1
(8th Cir. 2018) (citing Stutzka v. McCarville, 420 F.3d 757, 760 n.2 (8th Cir. 2005)); Graybow
v. U.S. Bank, Case No. 22‐CV‐0055 (SRN/DTS), 2022 WL 2806386, at *2 n.1 (D. Minn.
July 18, 2022) (citing cases).


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         Petitioners want Fortier present at the state trial. See, e.g., Pet. at 1.3 On June 24,

2022, they jointly filed a petition for a writ of habeas corpus ad testificandum in the state‐

court action. See Pet. for and Writ of Habeas Corpus Ad Testificandum at 1, Doe 600 v.

Circle R Ranch, Case No. 02‐CV‐20‐2671 (Minn. Dist. Ct. June 24, 2022). The state‐court

judge agreed with the request and signed a writ addressed to FCI‐Pekin’s warden. See

Pet. for and Writ of Habeas Corpus Ad Testificandum (court‐signed) at 3, Doe 600 v.

Circle R Ranch, Case No. 02‐CV‐20‐2671 (Minn. Dist. Ct. June 27, 2022).4

         This action arose because Petitioners have now filed a petition for writ of habeas

corpus ad testificandum in this Court. See Pet. The Petition simply provides this Court

with the state‐court writ, asking this Court “to issue and file” it. See id. at 1. The



3Because the Petition is a collection of documents and is not consecutively paginated,
this Order’s references to the Petition use the page numbers provided by the Court’s
CM/ECF filing system.
4   The writ states, in relevant part:
                 WE COMMAND that on or before October 31, 2022, you
                 have and produce the body of Scott Francis Fortier, register
                 number 21012‐041, in your custody in [FCI‐Pekin], before the
                 Anoka County District Court, in the Courtroom of Judge
                 Jonathan Jasper, Anoka County Courthouse, . . . so [Fortier]
                 may then appear for live testimony in a civil lawsuit
                 stemming from alleged conduct by Fortier in the State of
                 Minnesota. Trial of the matter is scheduled to begin October
                 31, 2022 and is scheduled to last through November 11, 2022.
                 Fortier will be required to testify in person at some point
                 during the course of trial at a specific date and time to be
                 determined.
Pet. at 5.


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Petition includes very little detail about the state‐court case and cited no authority –

none ‐‐ establishing that this federal court in Minnesota has the power to issue such a

writ directed to a prison warden in Illinois. See id. at 1–5.

       The Court declines to grant the Petition for two interrelated reasons. The first is

that, right now, whatever its caption, this case essentially features two petitioners and

no respondent. See note 1 supra. Maybe the FBOP would agree to help ensure Fortier’s

presence at trial; maybe not. Right now, though, Petitioners want this Court to demand

specific FBOP conduct without giving the FBOP any chance to be heard. That gives the

Court pause.

       Second, there appears to be an established regulatory path for requests like

Petitioners’—one that, notably, specifically incorporates FBOP input. Under 28 C.F.R.

§ 527.30, the FBOP

               will consider a request made on behalf of a state or local
               court that an inmate be transferred to the physical custody of
               state or local agents pursuant to state writ of habeas corpus
               ad prosequendum or ad testificandum. The Warden at the
               institution in which the inmate is confined is authorized to
               approve this transfer in accordance with the provisions of
               this rule.

Section 527.31 sets forth procedures for these requests. See id. § 527.31. In particular,

§ 527.31 discusses substantive standards that an institution’s warden should consider

when assessing a request. See id. § 527.31(b), (g). The Petition does not mention these

procedures, much less indicate that Petitioners made any attempt to follow them, see



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Pet. at 1–5, so at this point the Court can only assume that Petitioners have not tried

them.

        Given this alternative path—a path that would give the FBOP some say about

whether it should be ordered to transport Fortier from Illinois to Minnesota—the Court

concludes that the best path here is for Petitioners to attempt to secure Fortier’s

attendance through 28 C.F.R. §§ 527.30–31. The Court sees no reason for Petitioners not

to try this first, particularly since the state‐court trial will not begin until October 31,

2022. See Pet. at 3. The Court therefore denies the Petition, but without prejudice to

Petitioners’ ability to file a new petition should they be unable to secure Fortier’s

attendance at trial through other means.

                                           ORDER

        Based upon the foregoing, and on all of the files, records, and proceedings

herein, IT IS HEREBY ORDERED that the joint petition by “Doe 600” and Circle R

Ranch, requesting a writ of habeas corpus ad testificandum for federal prisoner Scott

Francis Fortier (ECF No. 3), is DENIED without prejudice.

        LET JUDGMENT BE ENTERED ACCORDINGLY.

  Dated: August 4, 2022                            s/Patrick J. Schiltz____________________
                                                   Patrick J. Schiltz, Chief Judge
                                                   United States District Court




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